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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X                11/26/2018
                                                              :
 S.N.C.,                                                      :
                                              Petitioner,     :
                                                              :     18 Civ. 7680 (LGS)
                            -against-                         :
                                                              :        AMENDED
 JEFFERSON B. SESSIONS et al.,                                :   OPINION AND ORDER
                                              Respondents. :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        For the reasons to follow, Respondents’ Motion to Dismiss for Lack of Jurisdiction is

denied, and Petitioner’s motion to convert the temporary restraining order (“TRO”) into a

preliminary injunction is denied without prejudice to renewal. Petitioner’s application to compel

her release is granted.

        BACKGROUND

        Petitioner S.N.C. brings this claim for a writ of habeas corpus, alleging that executing her

removal order before her T-Visa and Violence Against Woman Act (“VAWA”) applications are

adjudicated violates the Administrative Procedure Act and the Due Process Clause of the Fifth

Amendment. See 28 U.S.C. § 2241(c) (precluding the writ of habeas corpus unless a prisoner “is

in custody in violation of the Constitution or laws . . . of the United States”). Petitioner seeks a

stay of removal pending the adjudication of her applications. Respondents filed a motion to

dismiss, arguing that 8 U.S.C. § 1252(a)(5), (g) strip this Court of jurisdiction over Petitioner’s

habeas claims. Petitioner argues to the contrary, but in the alternative, that if § 1252 strips this

Court of jurisdiction over her claim, this statutory provision violates the Suspension Clause as

applied to her. See U.S. Const. art I, § 9, cl. 2.
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       A.      Facts

       S.N.C. is the mother of eight minor children -- all United States citizens -- and she has

lived in this country for approximately 18 years. After fleeing an abusive partner in Jamaica in

2000, S.N.C. entered the United States on a B1/B2 Tourist or Business Visa. Upon arriving in

the United States, S.N.C. was the victim of two separate incidents of human trafficking. In 2004,

following these incidents, S.N.C. married a United States citizen, who further subjected her to

domestic violence, sexual servitude and human trafficking. New York State’s Division of

Criminal Justice Services found that S.N.C. is a human trafficking survivor under Social Services

Law §483-cc(b) and N.Y. Penal Law §230.34.

       In 2006, S.N.C. was arrested on state criminal charges. The charges were dropped, but

S.N.C. was summoned to appear before an immigration law judge (“IJ”). The IJ entered an order

of removal against her; the Board of Immigration Appeals (“BIA”) denied her appeal; and

S.N.C.’s order of removal became final in May 2012. Fearful of her husband’s threats, S.N.C.

did not mention her abusive relationship or violence to the IJ or her attorney during her removal

proceedings. Her counsel also did not advise her of her right to file a T-Visa application, a type

of visa that Congress created for survivors of human trafficking. Although S.N.C. was required

to leave the United States, her husband forced her to remain in the country to continue serving

him and to ensure she repaid him legal fees associated with the immigration proceedings.

       On July 13, 2018, when S.N.C. arrived at court to address criminal charges falsely

instigated by her husband’s paramour, Immigration Customs Enforcement (“ICE”) officers

arrested S.N.C. and transported her to a detention facility in New Jersey. On July 31, 2018,

S.N.C. submitted an application for T-Nonimmigrant Status and shortly thereafter filed a VAWA




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Self-Petition based on her experiences with human trafficking and domestic abuse. S.N.C. also

requested a Stay of Removal via deferred action with ICE.

       B.      Temporary Restraining Order

       On August 28, 2018, Judge Caproni, acting as the Part 1 judge, granted a TRO as to the

stay of removal and denied without prejudice Petitioner’s request for release from detention. See

S.N.C. v. Sessions, 325 F. Supp. 3d 401, 411 (S.D.N.Y. 2018). Judge Caproni found that

Petitioner made a “strong showing” that she is likely to succeed on the merits of her due process

claim because “Petitioner has a right to make the [visa] applications and have them fully

adjudicated without undue interference.” Id. at 411–12. She also found that Petitioner showed

irreparable injury by demonstrating that her deportation would render her ineligible for the T-

Visa application she seeks. Id. at 412. Finally, Judge Caproni found that a stay would allow the

Court to adjudicate the important issues raised in this case but would cause “little harm to

Respondents by delaying Petitioner’s removal” for the duration of the TRO. 1 Id. On November

8, 2018, the Court heard oral argument on Petitioner’s motion to convert the TRO into a

preliminary injunction and Respondent’s motion to dismiss.

       C.      The Status of Petitioner’s Immigration Applications

       On November 7, 2018, the eve of the November 8, 2018, conference, Respondents filed a

letter informing the Court as to the status of Petitioner’s visa applications. On September 4,




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  After Respondents submitted a motion to transfer this action to the United States District Court
for the District of New Jersey, Judge Caproni held that this Court could exercise jurisdiction only
over Petitioner’s non-core habeas claims (challenges to forms of custody other than physical
confinement) but not “core” habeas claims (challenges to immigration-based physical
detention). S.N.C., 325 F. Supp. 3d at 406–07, 410. Accordingly, Judge Caproni granted leave
for Petitioner to amend her Petition and omit her “core” habeas claims. Id. at 412. On
September 4, 2018, Petitioner filed an amended petition, limiting her claims to those related to a
stay of removal.
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2018, United States Citizenship and Immigration Services (“USCIS”) determined that

Petitioner’s application was not bona fide and issued two Requests for Evidence (“RFEs”) in

furtherance of its ultimate adjudication of Petitioner’s application. Despite determining that

Petitioner’s application for T Nonimmigrant Status was not bona fide on September 4,

Petitioner’s counsel did not receive RFEs until two months later, on November 5, 2018.

Petitioner has until January 31, 2019, to respond to the RFEs. On September 13, 2018, USCIS

issued a determination that Petitioner has made a prima facie case for classification as a VAWA

self-petitioner. Pursuant to 8 U.S.C. § 1229a(c)(7)(C)(iv), Petitioner can file a motion to reopen

on the basis of her VAWA petition with the BIA, which would result in an automatic stay of

removal while the motion to reopen is being adjudicated. On October 15, 2018, ICE denied

Petitioner’s application for an administrative stay of removal pursuant to 8 C.F.R. § 241.6.

       D.      ICE’s Decision Regarding Petitioner’s Removal

       At the November 8, 2018, conference, the parties were directed to engage in settlement

discussions and report to the Court by November 20, 2018. In the parties’ report, Respondents

stated that ICE “has agreed to exercise its discretion to stay petitioner’s removal through March

8, 2019,” and “would reconsider its custody determination if circumstances change.”

Respondents argue that this decision renders the action moot. The Court reserves decision on

Petitioner’s habeas petition, including whether it is moot. It should be noted that Respondent has

not agreed to the full relief that Petitioner seeks -- a stay of removal proceedings until her

pending applications have been adjudicated.




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         STANDARD

         A.     Federal Rule of Civil Procedure 12(b)(1) Motion to Dismiss

         Rule 12(b)(1) of the Federal Rules of Civil Procedure allows a party to challenge the

court’s subject-matter jurisdiction by means of a motion to dismiss. In reviewing a motion to

dismiss under Rule 12(b)(1), a court must “accept as true any facts plausibly alleged in a

complaint, and must draw all inferences in favor of the [non-moving party].” MGM Resorts Int’l

Glob. Gaming Dev., LLC v. Malloy, 861 F.3d 40, 44 (2d Cir. 2017). In considering a motion to

dismiss, courts may look to documents referenced in the complaint, documents that the plaintiff

relied on in bringing suit and matters of which judicial notice may be taken. See Goel v. Bunge,

Ltd., 820 F.3d 554, 559 (2d Cir. 2016) (quoting Concord Assocs., L.P. v. Entm’t Props. Tr., 817

F.3d 46, 51 n.2 (2d Cir. 2016); and then quoting Chambers v. Time Warner, Inc., 282 F.3d 147,

153 (2d Cir. 2002)). Where jurisdictional facts are in dispute, “the court has the power and

obligation to decide issues of fact by reference to evidence outside the pleadings, such as

affidavits.” Tandon v. Captain’s Cove Marina of Bridgeport, Inc., 752 F.3d 239, 243 (2d Cir.

2014).

         B.     Preliminary Injunction

         “A party seeking a preliminary injunction must show (1) irreparable harm; (2) either a

likelihood of success on the merits or both serious questions on the merits and a balance of

hardships decidedly favoring the moving party; and (3) that a preliminary injunction is in the

public interest.” N. Am. Soccer League, LLC v. U.S. Soccer Fed’n, Inc., 883 F.3d 32, 37 (2d Cir.

2018).

         The standard for showing success on the merits is contingent on whether the injunction is

mandatory or prohibitory. Id. at 37. Mandatory injunctions disrupt the status quo, and a party



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seeking one must show “a clear or substantial likelihood on the merits.” Id. Conversely, a party

seeking an injunction that maintains the status quo need only raise serious questions on the

merits and show that the balance of hardships weighs in their favor. See id. “Because the

proposed injunction’s effect on the status quo drives the standard, [courts] must ascertain the

status quo -- that is, the last actual, peaceable uncontested status which preceded the pending

controversy.” Id. (internal quotation marks omitted).

        DISCUSSION

        A.      Subject Matter Jurisdiction

        “Congress has granted federal district courts, ‘within their respective jurisdictions,’ the

authority to hear applications for habeas corpus by any person who claims to be held ‘in custody

in violation of the Constitution or laws or treaties of the United States.’” Rasul v. Bush, 542 U.S.

466, 473 (2004) (quoting 28 U.S.C. §2241(a), (c)(3)); accord Calderon v. Sessions, No. 18 Civ.

5222, 2018 WL 3677891, at *2 (S.D.N.Y. Aug. 1, 2018). Respondents argue that 8 U.S.C. §

1252(a)(5), (g) strip this Court of jurisdiction over Petitioner’s claims. Petitioner argues that if §

1252(a)(5), (g) are so construed, they would violate the Suspension Clause as applied to her,

because they would deprive her of her habeas claim and leave her without a forum to challenge

the Executive’s legal authority to remove her before the adjudication of her applications for a T-

Visa and a VAWA Self-Petition, which were designed respectively to protect victims of human

trafficking and domestic abuse from deportation. The Suspension Clause provides, “The

Privilege of the Writ of Habeas Corpus shall not be suspended, unless when in Cases of

Rebellion or Invasion the public Safety may require it.” U.S. Const. art. I, § 9, cl. 2.

        “[I]f an otherwise acceptable construction of a statute would raise serious constitutional

problems, and [ ] an alternative interpretation of the statute is fairly possible, [courts] are



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obligated to construe the statute to avoid such problems.” Golb v. Attorney Gen. of N.Y., 870

F.3d 89, 103 (2d Cir. 2017), cert. denied 138 S. Ct. 988 (2018) (first alteration in original)

(quoting I.N.S. v. St. Cyr, 533 U.S. 289, 299–300 (2001)). “Indeed, it is an elementary rule in

construing acts of Congress that every reasonable construction must be resorted to, in order to

save a statute from unconstitutionality.” United States v. Barrett, 903 F.3d 166, 178 (2d Cir.

2018) (internal quotation marks omitted) (quoting Skilling v. United States, 561 U.S. 358, 406

(2010)).

        Because construing § 1252 to deprive this Court of jurisdiction over Petitioner’s claims

would raise serious Suspension Clause concerns for the reasons argued by Petitioner, and an

alternative interpretation of the statue is fairly possible, § 1252 must be construed to avoid such

constitutional concerns.

                1. Section 1252(a)(5)

        Section 1252(a)(5) states that “a petition for review filed with an appropriate court of

appeals in accordance with this section shall be the sole and exclusive means for judicial review

of an order of removal.” 8 U.S.C. § 1252(a)(5). “[S]ection 1252(a)(5)’s jurisdictional bar

applies equally to preclude . . . an indirect challenge” to an order of removal. Delgado v.

Quarantillo, 643 F.3d 52, 55 (2d Cir. 2011); accord Singh v. USCIS, No. 15 Civ. 1411, 2016 WL

1267796, at *3 (S.D.N.Y. Mar. 30, 2016), aff’d, 878 F.3d 441 (2d Cir. 2018). However, “a suit

brought against immigration authorities is not per se a challenge to a removal order; whether the

district court has jurisdiction will turn on the substance of the relief that a plaintiff is seeking.”

Id.

        In Delgado, while a reinstated removal order was pending, the petitioner sought to force

USCIS to adjudicate the merits of a I-212 application, a form by which aliens who have been



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deported or removed seek consent to reapply for admission to the United States. 643 F.3d at 53–

54. An I-212 waiver is a prerequisite to an adjustment of status. Id. at 55. If the waiver were

granted and the petitioner’s adjustment of status were adjudicated favorably, the petitioner’s

removal order would be rendered invalid. Id. As such, although the I-212 waiver, if granted,

would not itself prevent the petitioner’s removal, the “Form I-212 waiver of inadmissibility and

the adjustment of status to that of a lawful permanent resident would render the [removal] order

invalid.” Id. (alteration and internal quotation marks omitted). The Second Circuit concluded

that it lacked jurisdiction because the legal status the Delgado petitioner sought was

“inextricably linked” to the validity of his removal order. See id. at 55–56.

       Conversely, this Court has jurisdiction over Petitioner’s claims because her T-Visa

application is not inextricably linked to the validity of her removal order. In Delgado, the

petitioner’s readjustment of status application, if successful, would have nullified her removal

order. Id. at 55. In contrast, if Petitioner’s T-Visa application prevails and she is granted legal

status, it will not nullify her removal order. As the Government admits in its surreply,

Petitioner’s removal order was issued by an IJ and affirmed by the BIA, and unlike a removal

order issued by the Department of Homeland Security (“DHS”), it is not subject to automatic

cancellation after she is granted her T-Visa. See 8 C.F.R. § 214.11(d)(9)(i)–(ii). To cancel the

removal order, Petitioner must file a motion to reopen and terminate removal proceedings with

the IJ or BIA. Id. The determination of the motion to reopen and terminate is within the

discretion of the IJ or BIA. See 8 C.F.R. § 214.11(d)(9)(ii). This is not a case where permitting

adjudication of Petitioner’s T-Visa application inevitably would nullify her removal order. See,

e.g., Singh, 2016 WL 1267796, at *5 (holding that § 1252(a)(5) barred an action for judicial

review of the denial by USCIS of an application for adjustment of status filed by an alien who



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had been ordered removed because the requested relief “necessarily impugns the validity of the

underlying order of removal”); Noor v. Homan, No. 17 Civ. 1558, 2018 WL 1313233, at *4

(E.D.N.Y. Feb. 27, 2018) (“The practical effect of changing Plaintiff’s status to that of a legal

permanent resident would be to void the removal order.”). Therefore, § 1252(a)(5) does not

prevent the Court from exercising jurisdiction in this case.

               2. Section 1252(g)

       Section 1252(g) states that “no court shall have jurisdiction to hear any cause or claim . . .

arising from the decision or action by the Attorney General to . . . execute removal orders,”

unless they are raised as part of “constitutional claims or questions of law” in a petition for

review in the appropriate court of appeals. 8 U.S.C. § 1252(g). In Reno v. Am.-Arab Anti-

Discrimination Comm., the Supreme Court clarified that § 1252(g) is not a “‘zipper’ clause” that

prevents judicial review of all actions related to deportation proceedings. 525 U.S. 471, 482

(1999). Instead, “[t]he provision applies only to three discrete actions that the Attorney General

may take: her ‘decision or action’ to ‘commence proceedings, adjudicate cases, or execute

removal orders.’ There are of course many other decisions or actions that may be part of the

deportation process . . . .” Id. at 482 (quoting 8 U.S.C. § 1252(g)). The Court observed that

Congress enacted § 1252(g) to protect the executive’s discretionary actions. Id. at 483–85.

       In light of this guidance, courts in this district have held that § 1252(g) does not strip

courts of jurisdiction when the petitioner is seeking to challenge ICE’s legal authority over a

removal order, rather than its discretionary decisions regarding removal orders. For example, in

Calderon v. Sessions, Judge Crotty found that § 1252(g) did not deprive the court of jurisdiction

over the petitioner’s habeas claim because the petitioner was not challenging ICE’s prosecutorial

discretion, but rather its “legal authority to exercise such discretion when the subject of the



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removal order also has a right to seek relief made available by the DHS.” 2018 WL 3677891, at

*5 (emphasis omitted). Similarly, in You v. Nielsen, Judge Torres held that notwithstanding §

1252(g), the court could (and did) retain jurisdiction to decide whether ICE’s decision to remove

a Chinese national before his motion to reopen was adjudicated would violate the Immigration

and Nationality Act. 321 F. Supp. 3d 451, 455–58 (S.D.N.Y. 2018). Judge Torres reasoned that

this type of claim does not ask “why the Secretary chose to execute the removal order,” but

“whether the way Respondents acted accords with the Constitution and the laws of this country.”

Id. at 457. While the first question challenges ICE’s discretion to execute a removal order, the

second question asks whether the Constitution or other law deprives ICE of power over the

removal order. Because the petitioner’s claim fell within the latter category, the court in You

exercised jurisdiction over the claim. Id.

        Courts outside this district also have distinguished between challenges to ICE’s discretion

and its legal authority over removal orders, finding that district courts have jurisdiction when the

petitioner’s claim falls into the latter category. In Fatty v. Nielsen, the district court held that §

1252(g) did not deprive it of jurisdiction over a petitioner’s request for a stay of his removal

pending the adjudication of his petition for a T-Visa. No. 17 Civ. 1535, 2018 WL 3491278, at

*1–2 (W.D. Wash. July 20, 2018). As in Calderon and You, the court in Fatty distinguished

between a challenge to ICE’s “discretionary denial of his request for a stay of removal,” which

“clearly would be precluded by § 1252(g),” and the petitioner’s “collateral legal and

constitutional challenges” to the removal process. Id. at 2. Because the petitioner’s claim was

within the latter category, the court exercised jurisdiction.

        Petitioner’s claim here is a constitutional challenge to ICE’s legal authority and falls

beyond § 1252(g)’s reach. Like the petitioners in Calderon, You, and Fatty, Petitioner does not



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challenge the wisdom of ICE’s decision to remove her, but disputes ICE’s legal authority,

despite the constraints imposed by the Due Process Clause, to remove her while her visa

applications are being adjudicated. See You, 321 F. Supp. 2d at 457. Her claim is a “collateral

legal and constitutional challenge[]” to ICE’s legal authority, and § 1252(g) does not deprive this

Court of jurisdiction over it. See Fatty, 2018 WL 3491278 at *2.

                3. The Government’s Arguments

        Citing Vasquez v. United States, No. 15 Civ. 3946, 2015 WL 4619805, at *4 (S.D.N.Y.

Aug. 3, 2015), as well as other similar cases, the Government argues that § 1252 prevents district

courts from reviewing any applications for a stay of removal because “only a court with

jurisdiction to review a removal order has jurisdiction to stay a removal order.” This argument is

at odds with the Second Circuit’s statement in Delgado, that “whether the district court has

jurisdiction will turn on the substance of the relief that a plaintiff is seeking.” 643 F.3d at 55.

Here, the type of relief Petitioner is seeking, the right to have her T-Visa application adjudicated

will not, even if granted, nullify her removal order. The Court has habeas jurisdiction to

adjudicate Plaintiff’s request for a stay of removal.

        B.      Preliminary Injunction

        Petitioner’s motion to convert the TRO into a preliminary injunction is denied without

prejudice to renewal because Petitioner has not demonstrated imminent irreparable injury.

Irreparable harm, the first element of the preliminary injunction inquiry, is “injury that is neither

remote nor speculative, but actual and imminent and that cannot be remedied by an award of

monetary damages.” New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 660 (2d Cir.

2015); accord Brennan Ctr. for Justice v. U.S. Dep’t of Justice, No. 17 Civ. 6335, 2018 WL

637424, at *2 (S.D.N.Y. Jan 31, 2018). In light of ICE’s provisional decision not to execute



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Petitioner’s removal until March 8, 2019, Petitioner has not shown imminent injury.

       C.      Application for Release

       Federal courts have “inherent authority to admit to bail petitioners in immigration cases.”

Elkimya v. Dep’t of Homeland Sec., 484 F.3d 151, 153 (2d Cir. 2007); accord Lopez v. Sessions,

No. 18 Civ. 4189, 2018 WL 2932726, at *15 (S.D.N.Y. June 12, 2018). Although § 1252

changed the immigration landscape, it “did not qualify [courts’] inherent authority to admit to

bail petitioners in immigration cases.” Elkimya, 484 F.3d at 153; accord Lopez, 2018 WL

2932726, at *15. In considering a petitioner’s fitness for bail, courts assess (1) “whether the

petition raises substantial claims” and (2) “whether extraordinary circumstances exist[] that make

the grant of bail necessary to make the . . . remedy effective.” Elkimya, 484 F.3d at 154.

(internal quotation marks omitted).

       Petitioner raises substantial claims as to whether her due process rights are infringed if

she is removed before her visa applications are adjudicated. The Due Process Clause of the Fifth

Amendment requires that “[n]o person shall . . . be deprived of life, liberty, or property, without

due process of law.” U.S. Const. amend. V. “It is well established that the Fifth Amendment

entitles aliens to due process of law in deportation proceedings.” Reno v. Flores, 507 U.S. 292,

306 (1993); accord Calderon, 2018 WL 3677891, at *9.

       Petitioner alleges that executing her removal order before her T-Visa and VAWA

applications are adjudicated violates the Due Process Clause of the Fifth Amendment. The T-

Nonimmigrant Status is a form of immigration relief for non-citizen victims of human

trafficking. Congress passed the Trafficking Victims Protection Act, which created T-

Nonimmigrant relief, in part because “providing battered immigrant women . . . with protection

against deportation” allows them to seek help without “fearing that the abuser will retaliate by



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withdrawing . . . access to an immigration benefit under the abuser’s control.” Victims of

Trafficking and Violence Protection Act of 2000, Pub L. No. 106-386, 114 Stat. 1464. One of

the requirements for T Nonimmigrant Status is the applicant’s physical presence in the United

States. 8 C.F.R. § 214.11(b)(2). If an applicant for a T-Visa is in danger of imminent

deportation as a result of her trafficking, she is entitled to use a procedural safeguard of

requesting a bona fide determination from USCIS, which USCIS must review. Id. at

§ 214.11(d)(7). Upon a finding that the application is bona fide, an automatic administrative stay

of the final order of removal is granted and remains in effect until a final decision on the T-Visa

application is made. Id. at § 214.11(e)(3). If Petitioner is removed from the United States before

a finding on her bona fide application, she will no longer be eligible to pursue a T-Visa.

       Petitioner has raised substantial claims as to whether she has a protectable interest in

having her application for T Nonimmigrant Status adjudicated. The Second Circuit has not

addressed this issue. The only case that the parties have cited and that the Court has found that

directly addresses the issue held that the petitioner had a liberty interest and “raised a procedural

due process claim based upon his interest [in] obtaining a meaningful determination on his T visa

application.” Fatty, 2018 WL 3491278, at *2. 2 “It is well established that the Fifth Amendment



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  The court in Fatty also determined that the petitioner did not have a protected property interest
in his T-Visa or its adjudication because

       a benefit is not a protected entitlement if government officials may grant or deny
       it in their discretion. Instead, a reasonable expectation of entitlement is
       determined largely by the language of the statute and the extent to which the
       entitlement is couched in mandatory terms. Here, the applicable regulations make
       clear that “[t]he filing of an application for T nonimmigrant status has no effect on
       DHS authority or discretion to execute a final order of removal . . . .”

2018 WL 3491278, at *2 (alteration, internal quotation marks and citations omitted) (citing inter
alia 8 C.F.R. § 214.11(d)(1)(ii)).


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entitles aliens to due process of law in deportation proceedings.” Demore v. Kim, 538 U.S. 510,

523 (2003); see also Wong Wing v. United States, 163 U.S. 228, 238 (1896). I find the Fatty

holding to be persuasive, and no party has cited a decision holding otherwise. As the

Government’s only argument at this juncture on Petitioner’s due process claim is that she “lacks

a liberty or property interest in adjudication of her T-Visa application prior to her removal” the

remainder of the due process analysis is not addressed. Petitioner’s case also presents

extraordinary circumstances that require granting bail for any remedy related to the adjudication

of her visa applications to be effective. First, Petitioner is not pursuing a routine application to

adjust her status. Instead, she is applying for a specific form of relief that Congress made

available for victims of domestic violence and human trafficking, including those with final

orders of removal pending against them. See 8 C.F.R. § 214.11(d)(1)(ii). Second, Petitioner’s

personal circumstances are not that of the usual Petitioner. Petitioner’s psychologist confirms

that the difficulties she faced as a human trafficking and domestic abuse survivor have left her

with post-traumatic stress disorder, a condition that the detention environment aggravates. Her

caseworker, who is also a counselor, also reports that Petitioner is suffering depression and

physical pain as result of being separated from her children, the youngest of which she is still

nursing. See Kiaddii v. Sessions, 18 Civ. 1584, at *3 (S.D.N.Y. Mar. 2, 2018) (finding

extraordinary circumstances when the petitioner presented evidence that “her health has

deteriorated while in ICE’s custody”); D’Alessandro v. Mukasey, No. 08 Civ. 914, 2009 WL

799957, at *3 (W.D.N.Y. Mar. 25, 2009), (finding extraordinary circumstances when petitioner

had “a number of serious, potentially debilitating health problems”); see also United States v.

Mett, 41 F.3d 1281, 1282 n.4 (9th Cir. 1995) (internal quotation marks omitted) (noting that

“[s]pecial circumstances” warranting bail for habeas petitioners “include a serious deterioration



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of health while incarcerated”). Release would allow Petitioner to access trafficking-related

counselling to manage her symptoms and to care for her eight children. These circumstances are

extraordinary and require that Petitioner be released before her health declines past the point at

which she is unable to adjudicate her visa applications.

        Respondents argue that granting detention-related relief here would vitiate the rule in

Rumsfeld v. Padilla, 542 U.S. 426, 443 (2004), which requires that detention-related habeas

claims under § 2241 (“core” habeas claims) be brought within the district in which the petitioner

is detained. This argument is unavailing. The Padilla court interpreted the limits of a court’s

jurisdiction by analyzing the types of habeas relief Congress authorized pursuant to § 2241. Id.

But federal courts’ inherent authority to grant bail pending the adjudication of a habeas claim

does not require “an express statutory grant of authority.” Mapp, 241 F.3d at 226. In this sense,

it is a form of ancillary relief to Petitioner’s non-core claim for a stay of removal pending the

adjudication of her visa applications. The Government argues that granting release would allow

“any petitioner” to do an end-run around the Padilla rule. This argument is unconvincing.

Relief under Mapp is confined to truly extraordinary circumstances, and, as the Government

recognizes in its letter opposing Petitioner’s motion to compel release, most petitioners would

not be able to satisfy this rigorous test.

        As the Amended Petition raises substantial claims, and extraordinary circumstances exist

that make the grant of bail necessary to allow Petitioner to adjudicate her visa applications,

Petitioner’s motion to compel her release is granted.




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       CONCLUSION

       For the foregoing reasons, the Government’s motion to dismiss is DENIED. Petitioner’s

motion to convert the TRO into a preliminary injunction is DENIED without prejudice to

renewal. Petitioner’s motion to compel her release is GRANTED.

       The Clerk of Court is respectfully directed to vacate the Order at Dkt. 63.

Dated: November 26, 2018
       New York, New York




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